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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS




 IN RE: PHARMACEUTICAL INDUSTRY
 AVERAGE WHOLESALE PRICE
 LITIGATION                                        MDL NO. 1456
                                                   Master File No. 01-12257-PBS
 THIS DOCUMENT RELATES TO

 United States of America ex rel. Ven-A-Care       Subcategory Case No. 06-11337
 of the Florida Keys, Inc. v. Dey L.P., et al.,
 Civil Action No. 05-11084
                                                   Hon. Patti B. Saris
 United States of America ex rel. Ven-A-Care
 of the Florida Keys, Inc. v. Boehringer
 Ingelheim Corp., et al., Civil Action
 No. 07-10248




              VEN-A-CARE OF THE FLORIDA KEYS, INC.’S NOTICE OF
                JOINDER IN THE UNITED STATES’ WITNESS LIST,
                 DEPOSITION DESIGNATIONS AND EXHIBIT LIST
                AND SUPPLEMENTAL EXHIBIT LIST PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3)

       Pursuant to this Court’s Order dated October 20, 2009 [Master Docket No. 6613] and Federal

Rule of Civil Procedure 26(a)(3), Ven-A-Care of the Florida Keys, Inc. (“Ven-A-Care”) files its

Notice of Joinder in the United States’ Witness List, Deposition Designations and Exhibit List and

files its Supplemental Exhibit List for the above captioned cases. Ven-A-Care adopts the United

States’ Witness List, Deposition Designations and Exhibit List in their entirety and supplements the

United States’ Exhibit List as follows. Attached as “Exhibit A” is Ven-A-Care’s description of

exhibits Ven-A-Care expects to introduce at trial along with descriptions of the documents by bates

number. With respect to Ven-A-Care’s Supplemental Exhibit List, the inclusion of a document as an
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exhibit does not constitute an admission by Plaintiffs that the document is admissible in evidence,

and Plaintiffs reserve the right to object to its admission in evidence if offered by a Defendant.



       Dated: MARCH 16, 2010                          Respectfully submitted,


                                                      /s/ Alison W. Simon
                                                      ALISON W. SIMON, P.A.
                                                      Alison W. Simon
                                                      Florida Bar No. 0109568
                                                      P. O. Box 430457
                                                      MIAMI, FL 33243
                                                      Phone: 305-663-2433
                                                      Fax: 305-665-1508



                                 CERTIFICATE OF SERVICE

        I hereby certify that I have this 16th day of March, 2010 caused an electronic copy of the
above VEN-A-CARE OF THE FLORIDA KEYS, INC.’S NOTICE OF JOINDER IN THE
UNITED STATES’ WITNESS LIST, DEPOSITION DESIGNATIONS AND EXHIBIT LIST
AND SUPPLEMENTAL EXHIBIT LIST PURSUANT TO FEDERAL RULE OF CIVIL
PROCEDURE 26(a)(3) to be served on all counsel of record via electronic service pursuant to
Paragraph 11 of Case Management Order No. 2 by sending a copy to LexisNexis File & Serve
for posting and notification to all parties.


                                                      /s/ Alison W. Simon
                                                      Alison W. Simon
